

Bauman v Bauman (2025 NY Slip Op 01451)





Bauman v Bauman


2025 NY Slip Op 01451


Decided on March 14, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 14, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., MONTOUR, OGDEN, DELCONTE, AND HANNAH, JJ.


36 CA 24-00699

[*1]MARGARET P. BAUMAN, PLAINTIFF-RESPONDENT,
vDENNIS R. BAUMAN, DEFENDANT-APPELLANT, ET AL., DEFENDANTS. (APPEAL NO. 3.) 






SALCEDO APPEALS PLLC, BUFFALO (STEVEN B. SALCEDO OF COUNSEL), FOR DEFENDANT-APPELLANT.
ROBERT R. RADEL ATTORNEYS AT LAW, BUFFALO (ROBERT R. RADEL OF COUNSEL), FOR PLAINTIFF-RESPONDENT.


	Appeal from an order of the Supreme Court, Erie County (Kelly A. Vacco, J.), entered October 17, 2023. The order denied the motion of defendant Dennis R. Bauman for summary judgment. 
It is hereby ORDERED that said appeal from the order insofar as it denied those parts of the motion of defendant Dennis R. Bauman seeking summary judgment dismissing the first and second causes of action is unanimously dismissed and the order is affirmed without costs.
Same memorandum as in Bauman v Bauman ([appeal No. 1] — AD3d — [Mar. 14, 2025] [4th Dept 2025]).
Entered: March 14, 2025
Ann Dillon Flynn
Clerk of the Court








